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                EXHIBIT C
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EZAJ (Lizzie Johnson)

From:                       PHUM (Paul Humenansky)
Sent:                       Tuesday, February 09, 2010 3:47 PM
To:                         NNI SLS_D3PR09 (Mobile)
Subject:                    FW: First Day Feedback from Texas!



FYI. Nothing new or unexpected from the Endo group in TX. Please read.


From:         ALBV (Albert Vicario)
Sent:         Tuesday, February 09, 2010 8:36 AM
To:           MKSD (Mark Sanders); CDOW (Chris Dowdy); JHDV (John Davis); JMYI (Jimmy Yi); JOCC (Jock Chandler); KVHN (Kevin Henson);
              PHUM (Paul Humenansky); PKTS (Paul Knutsen); SMCO (Doug Cole); THAX (Tom Harmon); TLEW (Tammy Lewis)
Cc:           BLKF (Bryan Lankford); DBEX (Daye Bexley); KMEN (Kim Elston)
Subject:      FW: First Day Feedback from Texas!

Team,

Great feedback from the endo team who are leading with Victoza this week.
Please read.

Thanks,
Albert


From:         KEMT (Ken Mathes)
Sent:         Tuesday, February 09, 2010 7:46 AM
To:           ALBV (Albert Vicario); CHCN (Chris Connell); DXJO (Doxie Jordan); JOKE (Joseph Kelly); LEAG (Leah Gregg); NCHF (Nicholas Frager);
              PARE (Patrick Reid)
Cc:           FRJA (Frank Jacobs)
Subject:      FW: First Day Feedback from Texas!

SE RBD Team:

Some early feedback on the first day of calls on endo's in Texas. Very good news! FYI only please.

Thanks.

Ken


From:         KEMT (Ken Mathes)
Sent:         Tuesday, February 09, 2010 7:44 AM
To:           FRJA (Frank Jacobs)
Subject:      FW: First Day Feedback from Texas!

Good morning Frank:

Excellent feedback from Bob Kinley, EDBM in Texas, on his first day in the field making calls on endo's.

A few points to note:

1) Endo's called on today have accepted 100% the primary care messaging and early positioning of
Victoza. They are committing to recommend/advocate this positioning to primary care physicians!

2) A key will be to "close the loop" by getting endo's and PCP's together to attend programs, so endo's
can influence PCP's and gain support for early positioning. (We have excellent opportunities to do this
with our webcast programs coming up in March-May, as we have discussed. The SE Influence/mapping

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exercise we are about to do will be key to making this happen.)

3) Some questions around use in monotherapy. (i.e Lead 3) when label recommends to use after
metformin. Easily handled.

4) Lot's of questions about how to switch from Byetta, and dosing regimen to do this. (Lead 6 leave-
behind, e-PIR, Medical to handle this easily)

More feedback to come, but wanted you to know all signs are very encouraging on the endo side.

Ken


From:            BKLY (Bob Kinley)
Sent:            Tuesday, February 09, 2010 12:28 AM
To:              KEMT (Ken Mathes); BCKC (Becky Crawford)
Subject:         First Day Feedback from Texas!

I was in the field today in the Dallas/Plano area. I also had great reports from my team
across Texas.

      - The Endo's are very excited about Victoza. When discussing the MTC issue may said
      they have never seen a case or knew how rare it was. Many actually said you can only
      see it in rats and mice. When we clarified, they said that all Endo's know this from
      training. Apparently in their training they use rats and mice to study the thyroid
      because diseases can be easily expressed in the rodent thyroid. Many said this class
      (GLP-1) will have this issue if the rodents have sufficient exposure to the glp-1 i.e. long
      acting.

   - The caution about Pancreatitis was also discussed. Many were interested to see it was
not a boxed warning.


      •    The pen is a huge hit! To have all three doses in one pen is great. Get ready to
           discuss titration and which is the most effective dose. Many will ask how do you
           dose? Or how do you titrate? No dosing restrictions with food and timing are huge!

      •    Adverse events are expected. GI side effects are a class effect. Many wanted head to
           head data with Byetta, so LEAD 6 will be a bit hit.

      •    Some asked why we did a 52 week monotherapy study if we can not be used as initial
           therapy. We said to show the drug works alone or in combination with all the other
           classes.

      •    Many wanted to start writing and switching patients immediately. We told them to
           hold off until we get them samples and then after 2weeks (target date Feb 17) we
           should have it in the pharmacies and that we are making pharmacy calls and will let
           them know who is stocking it.

      •    The saving card is a big hit in heavy managed care offices. No one asked the cash
           price.

      •    All have said they agreed with our positioning after metformin in the PCP offices.
           They all said that is where it should be positioned. All also said they would advocate
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          this position and say the MTC issue is not big deal if/when contacted by their
          referring PCPs.

      •   ONE endo told us the reason Januvia is written so much even though it is less
          effective is the hassle factor. Easy to take, QD and mild side effects. He said if we
          can make this easy for the doctors in terms of dosing and less call backs, they will
          write Victoza.




Bob Kinley

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recipient, please return this e-mail to the sender and delete it immediately hereafter. Thank you.




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